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  11                         UNITED STATES DISTRICT COURT
  12                       CENTRAL DISTRICT OF CALIFORNIA
  13                                   WESTERN DIVISION
  14
       TIFFNI ALTES, on behalf of herself       Case No. 2:19-cv-04409-ODW-SK
  15   and all others similarly situated,
                                                MEMORANDUM OF POINTS AND
  16                      Plaintiff,            AUTHORITIES IN SUPPORT OF
                                                DEFENDANT BULLETPROOF 360,
  17         v.                                 INC.’S MOTION TO DISMISS
  18                                            FIRST AMENDED COMPLAINT
       BULLETPROOF 360, INC.,
  19                      Defendant.            Date:      September 30, 2019
                                                Time:      1:30 p.m.
  20                                            Courtroom: Courtroom 5D
                                                Judge:     Hon. Otis D. Wright II
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   1                                I.     INTRODUCTION
   2         Plaintiff Tiffni Altes’ First Amended Complaint (“FAC”)1 continues to assert
   3   that the labeling and marketing of Defendant Bulletproof 360, Inc.’s
   4   (“Bulletproof”) Cold Brew Coffees is misleading or unlawful. Despite having had
   5   the opportunity to reform her allegations in response to Bulletproof’s now-moot
   6   initial motion to dismiss, the FAC remains rife with basic pleading deficiencies, all
   7   of which warrant its dismissal pursuant to Federal Rule of Civil Procedure 12(b).
   8         The FAC posits that certain statements on Bulletproof’s Cold Brew Coffees
   9   are unlawful or misleading based on nonsensical interpretations of the products’
  10   labels and an incorrect interpretation of federal law. For example, it alleges that
  11   references to the fact that the Cold Brew Coffees contain highly refined oil and
  12   grass-fed butter—ingredients that common-sense dictates are sources of fat—
  13   nonetheless somehow imply that the products are low in fat. And it asserts that
  14   statements regarding the nutritional benefits of the products render them “drugs,”
  15   even though this is plainly contrary to the language of the statutes and regulations
  16   applicable to drugs that the FAC relies upon and even though it is a self-evident fact
  17   that the products are food. Dismissal of the FAC on multiple grounds is therefore
  18   warranted.
  19         First, the FAC continues to challenge dozens of marketing claims that are
  20   drawn from both the Cold Brew Coffee labels as well as Bulletproof’s website. In
  21   cases involving alleged mislabeling of consumer goods, the “causation” aspect of
  22   Article III standing requires Plaintiff to allege she relied on the purportedly
  23   misleading or unlawful claims, such that her harm was “caused” by that reliance.
  24   1
         The FAC was filed as an amendment to Plaintiff’s prior complaint in response to
       Bulletproof’s first motion to dismiss. See Dkt. Nos. 22, 26 (Bulletproof’s initial
  25   motion followed by amendment). Because Plaintiff has already amended her
       allegations once in response to Bulletproof’s initial motion to dismiss, any
  26   dismissal on this Motion should be with prejudice. See, e.g., Order Denying Motion
       to Dismiss as Moot, Hadley v. Kellogg Sales Co., No. 16-cv-4955-LHK (N.D. Cal.
  27   Nov. 15, 2016), ECF No. 31 at 2 (denying motion to dismiss initial complaint as
       moot and ordering that any future dismissal must be with prejudice given plaintiff’s
  28   amendment in response to defendant’s first motion to dismiss).
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   1   Even after amending her complaint, however, Plaintiff still fails to allege that she
   2   actually saw or relied on any of the statements presented on Bulletproof’s website.
   3   This pleading failure deprives Plaintiff of Article III standing (and, by extension,
   4   statutory standing) to pursue claims related to these website statements.
   5         Second, the FAC’s challenge to certain aspects of Bulletproof’s labeling as
   6   misleading fails on the merits because no “reasonable consumer” would be misled
   7   by that labeling. The statements the FAC challenges, such as the fact that the coffee
   8   beans in Bulletproof’s Cold Brew Coffees is screened to remove certain toxins, and
   9   that the products contain oil, are indisputably true. Moreover, the FAC’s allegations
  10   of deception as to these statements are based on utterly implausible interpretations
  11   of the products’ labeling—e.g., that a reasonable consumer interprets the fact that
  12   Bulletproof screens its coffee to remove toxins as an assertion that non-Bulletproof
  13   coffee causes health harms, or that references to oil and butter indicate that
  14   Bulletproof Cold Brew Coffee is low in fat.
  15         Third, to the extent that the FAC raises questions of whether advertising
  16   claims such as “fewer cravings” and “fuel to sustain your body and mind” are
  17   validated, the FAC constitutes an improper attempt by Plaintiff to demand “prior
  18   substantiation” that is non-actionable under California consumer protection law.
  19         Fourth, the FAC’s unlawful claims depend in part on an argument that Cold
  20   Brew Coffee, a food, is nonetheless subject to regulation as a “drug.” But none of
  21   the statements Plaintiff challenges indicate that the products are intended for use in
  22   the diagnosis, cure, treatment, or prevention of any disease, as FDA’s “drug”
  23   regulations require. Likewise, the FAC alleges that the products bear unauthorized
  24   or unapproved nutrient content or health claims, which are regulations that do apply
  25   to foods. But a plain reading of the statutes and regulations Plaintiff relies upon
  26   reveals that none of the challenged statements meet these criteria.
  27         Finally, the FAC fails to satisfy the heightened pleading standard of Fed. R.
  28   Civ. P. 9(b). The FAC per se does not allege “what” Plaintiff believes is false. Nor
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   1   does the FAC satisfy the “how” or “why” elements of the standard, because
   2   Plaintiff does not allege “why” she believes any such claims are false and
   3   misleading, or “how” she came to that conclusion if so.
   4         For these reasons, the Court should dismiss Plaintiff’s FAC with prejudice.
   5                           II.    FACTUAL BACKGROUND
   6   A.    The FAC’s Allegations Regarding Bulletproof Products
   7         Defendant Bulletproof manufactures and markets the products at issue: (1)
   8   Bulletproof Cold Brew Coffee; and (2) Bulletproof Cold Brew Coffee + Collagen
   9   Protein. FAC ¶ 3. The products are pre-packaged ready-to-drink coffees that come
  10   in several flavor varieties, totaling seven products (collectively, the “Products”). Id.
  11   ¶¶ 13–20. As the FAC acknowledges, and the labels plainly and repeatedly
  12   disclose, the Products contain—in addition to coffee—a blend of grass-fed butter
  13   and refined coconut oil. Id.
  14         The FAC asserts that nine statements on the Products’ labels are either
  15   allegedly misleading or purportedly violate federal statutes or regulations. FAC
  16   ¶¶ 62, 86 (challenging the following statements as false, misleading or unlawful: (1)
  17   “Certified Clean Coffee”; (2) “BRAIN OCTANE OIL”; (3) “It’s clean coffee
  18   certified to be free of 27 energy-sapping toxins, plus grass-fed butter and
  19   Bulletproof Brain Octane Oil”; (4) “All Day Energy + Protein”; (5) “Fuel to Sustain
  20   You Mind and Body”; (6) “0g Sugar”; (7) “Lasting Energy”; (8) “Fewer Cravings
  21   [¶] Brain Octane Oil Powers Your Brain and Curbs Snack Attacks”; (9) “Essential
  22   for Hair, Skin & Nails [¶] 15g of Collagen Protein Pack a Beautiful Punch”). The
  23   FAC likewise identifies nine statements on the Bulletproof website as either
  24   misleading or “unauthorized” under federal law. FAC ¶ 21, 62, 65, 69 (identifying
  25   website statements); id. ¶¶ 28, 33 (alleging statements are misleading or
  26   “unauthorized”).
  27
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   1          As discussed below, however, the FAC fails to explain any of the challenged
   2   statements are false and otherwise cites inapplicable regulations to assert that
   3   certain statements are purportedly “unauthorized.”
   4          1.     The FAC identifies several true statements that are nonetheless
                     alleged to be “misleading”
   5
              First, the FAC points to the statement appearing on some (but not all)
   6
       versions of the Products’ labels that Bulletproof’s coffee “beans are farmed,
   7
       screened, and tested to be free of 27 common toxins to keep you mentally and
   8
       physically feeling your best.” FAC ¶ 29. There is no allegation that this statement is
   9
       false. To the contrary, the FAC acknowledges that mycotoxins are present in coffee
  10
       beans, citing a study in which 89% of the coffee samples analyzed by researchers
  11
       were contaminated by mycotoxins. FAC ¶ 30 & fn. 5.
  12
              Instead, Plaintiff alleges this statement is misleading because it purportedly
  13
       implies that the Products are a “healthy alternative to regular coffee” or that
  14
       “consuming competing coffee results in health risks.” FAC ¶¶ 27, 31. The FAC
  15
       does not point to any facts to substantiate the notion that by truthfully describing
  16
       the Products as free of certain toxins, the label caused Plaintiff (or anyone else) to
  17
       form the impression that non-Bulletproof coffee is unhealthy, “dirty,” or “unsafe.”
  18
       FAC ¶ 8.
  19
              Second, the FAC alleges that the label statement that consuming the “BRAIN
  20
       OCTANE OIL” in the Products will lead to “fewer cravings,” “curb[] snack
  21
       attacks,” and “power your brain” is misleading. FAC ¶¶ 28, 32. Here again, the
  22
       FAC does not allege that this statement is false or explain why Plaintiff believes it
  23
       to be false. Instead, the FAC pivots to point to the fact that the Products contain
  24
       saturated fat. Id. ¶ 34.
  25
              There is no allegation of fact, however, that the Products’ saturated fat
  26
       content has any bearing on the Products’ ability to reduce cravings—or that
  27
       Plaintiff or anyone else interpreted these “fewer cravings” or “power your brain”
  28
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   1   references as an affirmation that the Products are fat-free. Nor do the labels
   2   themselves support this inference: The Products’ labels consistently and
   3   prominently state on their front panel that they contain “GRASS-FED BUTTER”
   4   and “BRAIN OCTANE OIL,” alerting consumers to the fact they contain fat. FAC
   5   ¶¶ 14, 16, 18 (product labels). The presence of these ingredients is declared for a
   6   second time on the Products’ ingredient deck, along with the Nutrition Facts
   7   Panel’s disclosure of the exact amount of saturated fat in the Products. Id.
   8         2.     The FAC identifies several true statements that it alleges violate
                    certain federal regulations
   9
             Next, the FAC alleges that various statements on Bulletproof Products’ labels
  10
       or on its website purportedly violate FDA regulations.
  11
             First, Plaintiff alleges twelve statements—drawn from both the Product
  12
       labels or the Bulletproof website—have the effect of rendering the Products an
  13
       “unapproved new drug.” See FAC ¶ 38 (listing “drug claims”). Plaintiff alleges that
  14
       these statements violate 21 U.S.C. § 355(a)—an FDA regulation prohibiting the
  15
       introduction of unapproved new drugs into interstate commerce—despite the fact
  16
       the Bulletproof Products are indisputably food products. FAC ¶¶ 38–41.
  17
             Second, the FAC alleges that the “0 Sugar” statement on the Products’ label
  18
       violates 21 C.F.R. § 101.13(h)(1)—a regulation that, despite the FAC’s earlier
  19
       allegations regarding the Products being classified as a “drug,” only applies to
  20
       food—because the labels do not contain additional language referring to the fact
  21
       that the Products contain fat. FAC ¶¶ 50–53. Here again, it is indisputably true that
  22
       the Products do contain “0g Sugar.” See FAC ¶¶ 14, 16, 18. Moreover, this “0g
  23
       Sugar” statement appears directly adjacent to language identifying “oil” and
  24
       “GRASS-FED BUTTER” as among the Products’ principal ingredients, both of
  25
       which are fat-rich foods. There is likewise no allegation that Plaintiff interpreted
  26
       this “0g Sugar” statement to mean the Products are fat-free.
  27
             Third, the FAC alleges that the following statement is an unauthorized
  28
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   1   “health claim” under federal regulations: “GRASS-FED BUTTER: Butter from
   2   grass-fed cows is higher in butyrate, a fatty acid that aids in digestion as well as
   3   Vitamin K2, which helps push the calcium to your bones—not your arteries.” FAC
   4   ¶ 67 (citing 21 C.F.R. § 101.14(a)(1)). “Health claims” are defined in §101.14(a)(1)
   5   as those that “characterize the relationship of any substance to a disease or health-
   6   related condition.” Id. Thus, the regulation applies only to statements addressing a
   7   “disease or health-related condition.” Moreover, by its plain language, the
   8   regulation applies only to statements on the “label or in labeling” of a food. Id.
   9   The statement challenged by the FAC here appears on a Bulletproof website, not
  10   any Product label. FAC ¶¶ 14, 16, 18 (product labels); ¶ 66 (challenged statement
  11   originates from Bulletproof’s website).
  12   B.    The FAC’s Allegations Regarding Plaintiff’s Purchases.
  13         The FAC alleges Plaintiff Tiffni Altes “purchased Bulletproof Cold Brew
  14   Coffee at least twice in the past two years” at a California grocery store. FAC ¶ 83.2
  15   The FAC further alleges that, in purchasing the Products, Plaintiff “relied on the
  16   label” which reflected the following claims: (1) “Brain Octane Oil”; (2) “Fuel to
  17   Sustain Your Mind and Body”; (3) “0G SUGAR”; (4) “ZERO SUGAR”; (5)
  18   “Lasting Energy”; (6) “Fewer Cravings [¶] Brain Octane Oil Powers Your Brain
  19   and Curbs Snack Attacks”; (7) “Certified Clean Coffee”; (8) “It’s clean coffee
  20   certified to be free of 27 energy-sapping toxins, plus grass-fed butter and
  21   Bulletproof Brain Octane Oil—extracted from the most potent part of the
  22   coconut—to power your brain and body and give you steady, all day energy.” FAC
  23
       2
         This action is one of three food labeling class actions that Ms. Altes has filed in
  24   this District over a roughly one-month period, all brought by the same Plaintiff’s
       counsel Mr. Weston. Tiffni Altes v. Greenbrier Int’l, Inc., Case No. 2:19-cv-03011-
  25   SVW-FFM (filed Apr. 18, 2019); Tiffni Altes v. Star Brands N. Am., Inc., 2:19-cv-
       04399-JAK-AS (filed May 21, 2019). As the Court is aware, this is not
  26   Mr. Weston’s first association with a serial class litigant. See Red v. General Mills,
       Inc., 2015 WL 9484398, at *5 (Wright, J.) (C.D. Cal. Dec. 29, 2015) (dismissing
  27   putative class action regarding trans fat labeling on Article III standing grounds,
       noting that Plaintiff’s prior litigation regarding food labeling raised inference that
  28   any Article III injury she suffered was self-inflicted).
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   1   ¶ 86. This is the full extent of Plaintiff’s allegations regarding her purchases or her
   2   alleged deception.
   3         So, the FAC does not allege Plaintiff ever saw, read, reviewed, or relied on
   4   any of the various statements that allegedly originated from the Bulletproof website
   5   (indeed, her allegation that she purchased the Products at a supermarket, FAC ¶ 83,
   6   is inconsistent with the notion that she relied on any online marketing material in
   7   connection with those purchases). Further, she does not allege that she herself
   8   believed that any of the challenged statements—whether found on the Product
   9   labels or on the Bulletproof website—have the meaning the FAC ascribes to them.
  10   Nor does she allege which of the multiple varieties of the Products she purchased.
  11   In place of these allegations, the FAC merely asserts that Plaintiff “would not have
  12   purchased Bulletproof Cold Brew absent these misleading claims, and never would
  13   have purchased Bulletproof had she known it was misbranded, deceptively
  14   marketed, an unapproved new drug, and sold in violation of California and federal
  15   law.” Id. ¶ 87.
  16         Based on these allegations and those described in Section II(A), above, the
  17   FAC asserts two causes of action: (1) unfair, unlawful, and fraudulent conduct in
  18   violation of California’s UCL, Cal. Bus. & Prof. Code § 17200; and (2) violation of
  19   California’s CLRA, Cal. Civ. Code § 1750.
  20                               III.   LEGAL STANDARD
  21   A.    Standards for Dismissal Under Rule 12(b)(1)
  22         Under Article III of the U.S. Constitution, federal courts may decide only
  23   “cases” and “controversies.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560
  24   (1992); see also DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341-42 (2006).
  25         For a plaintiff to qualify for Article III standing, (1) the plaintiff must have
  26   suffered an actual, concrete, and particularized injury in fact; (2) there must be a
  27   causal connection between the alleged injury and the challenged conduct such that
  28   the injury is fairly traceable to the conduct complained of; and, (3) it must be likely
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   1   that the injury will be redressed by a favorable decision. Lujan, 504 U.S. at 560-61.
   2   The party invoking federal jurisdiction has the burden of establishing these three
   3   elements. Id. at 561. If a plaintiff lacks Article III standing, federal courts are
   4   without subject matter jurisdiction and the action must be dismissed. Fed. R. Civ. P
   5   12(b)(1).
   6         When raising a factual challenge to subject matter jurisdiction under Federal
   7   Rule of Civil Procedure (“Rule”) 12(b)(1), a defendant may present affidavits or
   8   other evidence outside the pleadings without converting the motion to one for
   9   summary judgment. Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004). The
  10   court does not presume the truth of the complaint’s allegations under such
  11   circumstances, and the burden then falls on the plaintiff to establish—through
  12   affidavits or other evidence—that the Court has subject matter jurisdiction. White v.
  13   Lee, 227 F.3d 1214, 1242 (9th Cir. 2000); Savage v. Glendale Union High Sch.
  14   Dist. No. 205, 343 F.3d 1036, 1040 n.2 (9th Cir. 2003). If the plaintiff fails to carry
  15   that burden, the action must be dismissed. St. Clair v. City of Chico, 880 F.2d 199
  16   (9th Cir. 1989) (affirming Rule 12(b)(1) dismissal based on defendant’s submission
  17   of evidence disproving jurisdiction under Article III).
  18   B.    Standards for Dismissal Under Rule 12(b)(6)
  19         To survive a motion to dismiss under Federal Rule of Civil Procedure
  20   12(b)(6), the plaintiff’s factual allegations “must be enough to raise a right to relief
  21   above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
  22   The allegations must “plausibly suggest[],” and not merely be consistent with, the
  23   claimed wrongful conduct. Id. at 557. The court may dismiss a complaint as a
  24   matter of law for (1) “lack of a cognizable legal theory”; or (2) “insufficient facts
  25   under a cognizable legal claim.” SmileCare Dental Grp. v. Delta Dental Plan of
  26   Cal., Inc., 88 F.3d 780, 783 (9th Cir. 1996) (citation omitted).
  27         While factual allegations are assumed true, the plaintiff must provide “more
  28   than labels and conclusions, and a formulaic recitation of the elements of a cause of
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   1   action.” Twombly, 550 U.S. at 555. Courts are “not bound to accept as true a legal
   2   conclusion couched as a factual allegation,” and “[t]hreadbare recitals of the
   3   elements of a cause of action, supported by mere conclusory statements, do not
   4   suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It is improper to assume “the
   5   [plaintiff] can prove facts that [he or she] has not alleged.” Assoc. Gen. Contractors
   6   of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983).
   7                                   IV.    ARGUMENT
   8   A.    Plaintiff Lacks Article III and Statutory Standing to Pursue Claims
             Relating to Statements Carried on Bulletproof’s Website
   9
             Article III standing requires a plaintiff to plausibly allege: (1) an injury in
  10
       fact; (2) a causal connection between the injury and the challenged conduct; and (3)
  11
       redressability. Lujan, 504 U.S. at 560-62; see also Kwikset Corp. v. Superior Court,
  12
       51 Cal. 4th 310, 322 (2011). The same is true for UCL and CLRA claims: A
  13
       complaint must allege facts sufficient to establish Article III standing in order for
  14
       the plaintiff to have statutory standing to assert claims brought under these statutes.
  15
       See Phillips v. Apple Inc., 2016 WL 1579693, at *6 (N.D. Cal. Apr. 19, 2016)
  16
       (“[T]o establish Article III and statutory standing Plaintiffs must show an injury in
  17
       fact that is causally linked to [the defendant’s] alleged misrepresentations and
  18
       omissions”) (emphasis added).
  19
             In UCL and CLRA cases, the causation element imposed by both Article III
  20
       and statutory standing requires the plaintiff to plausibly allege actual reliance on the
  21
       defendant’s purported misrepresentation. In re iPhone Application Litig., 6 F. Supp.
  22
       3d 1004, 1015 (N.D. Cal. 2013) (“[F]or purposes of standing under the CLRA and
  23
       UCL, a showing of causation requires a showing that Plaintiffs actually relied on
  24
       [defendant’s] alleged misrepresentations…Plaintiffs must [also] establish actual
  25
       reliance on [the defendant’s] alleged misrepresentations to demonstrate causation
  26
       for purposes of Article III standing.”); see also Kwikset Corp., 51 Cal. 4th at 326–
  27
       27 (“a plaintiff ‘proceeding on a claim of misrepresentation as the basis of his or
  28
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   1   her UCL action must demonstrate actual reliance on the allegedly deceptive or
   2   misleading statements, in accordance with well-settled principles regarding the
   3   element of reliance in ordinary fraud actions’”); Joseph v. Nordstrom, Inc., 2016
   4   WL 6917279, at *3 (C.D. Cal. June 17, 2016) (“under the CLRA, a plaintiff must
   5   plead that he or she suffered economic injury through actual reliance on the
   6   defendant’s allegedly deceptive practices”).
   7         Thus, a failure to allege reliance mandates dismissal for lack of Article III
   8   and statutory standing. Joseph v. Kraft Heinz Foods Co., 691 F. App’x 850 (9th Cir.
   9   2017) (upholding district court’s dismissal of UCL claims where plaintiff “failed to
  10   allege facts sufficient to show that he relied on the absence of a country of origin
  11   marking on defendants’ cashew products in making his purchases”); In re iPhone
  12   Application Litig., 6 F. Supp. 3d at 1015 (dismissal proper under Article III for lack
  13   of statutory standing unless plaintiff “actually relied on the misrepresentations”);
  14   Kane v. Chobani, Inc., 2013 WL 5289253, at *7–11 (N.D. Cal. Sept. 19, 2013)
  15   (dismissing UCL and CLRA claims due to lack of reliance and thus lack of Article
  16   III and statutory standing).
  17         Here, the FAC lacks any allegation that Plaintiff relied on any of the
  18   challenged language purportedly drawn from Bulletproof’s websites (the “Website
  19   Statements”). See generally FAC ¶¶ 85–87. Indeed, Plaintiff does not allege that
  20   she read the Website Statements, much less relied on them for her purchasing
  21   decision. Id. Instead, Plaintiff alleges only that the product labels bear the website
  22   URLs, and, therefore, the labels have “incorporate[d] by reference” the Website
  23   Statements. FAC. ¶ 21. This is simply incorrect.
  24         Plaintiff’s allegation that, because the labels reference the Website URL, the
  25   labels incorporate the Website statements “by reference” does not amount to actual
  26   reliance for the purposes of determining standing under the UCL and CRLA
  27   because Plaintiff still fails to allege that she actually viewed the Website Statements
  28   prior to purchasing the Products. Bruton v. Gerber Prods. Co., 961 F. Supp. 2d
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   1   1062, 1091 (N.D. Cal. 2013) rev’d and remanded on other grounds, 703 F. App’x
   2   468 (9th Cir. 2017) (plaintiff’s theory of “incorporation by reference” does not
   3   suffice to plead actual reliance on the statements on defendant’s website, and
   4   therefore plaintiff does not have standing to assert claims based on websites that she
   5   did not view personally). Numerous other courts have also determined that failure
   6   to allege actual reliance on specific website statements deprives a plaintiff of
   7   standing under the UCL and CLRA.
   8          For example, in Brazil v. Dole Food Co., 2013 WL 5312418 (N.D. Cal. Sept.
   9   23, 2013), the court found that the named plaintiff did not have standing to assert
  10   claims based on language from the defendant’s website because the plaintiff did not
  11   view or rely on these marketing materials prior to making his purchase. Id. at *2.
  12   The Northern District reasoned that “[w]ere [it] to hold that Brazil, who never
  13   viewed the Health Claims, has standing to bring claims based solely upon
  14   allegations that he would not have purchased a product that was misbranded,
  15   purchasers who never ‘viewed the defendant’s advertising’ or misleading labeling
  16   would have standing to sue.” Id. at *9. Likewise, in In re Ferrero Litigation, the
  17   plaintiffs   alleged   that   Ferrero’s    Nutella    website     contained     numerous
  18   misrepresentations, but in the complaint the plaintiffs only alleged that they relied
  19   on representations from Nutella’s label and television advertisements prior to
  20   purchasing the product. In re Ferrero Litig., 794 F. Supp. 2d 1107, 1112 (S.D. Cal.
  21   2011). The Southern District found that, based on these allegations, “[p]laintiffs did
  22   not actually rely on the statements on Nutella’s website before making their
  23   purchases and lack[ed] standing to challenge these statements under the UCL, FAL,
  24   and CLRA.” Id. Indeed, virtually every district court in California has come to the
  25   same conclusion. See, e.g., Takano v. Procter & Gamble Co., 2018 WL 5304817, at
  26   *3 (E.D. Cal. Oct. 24, 2018) (dismissing plaintiff’s UCL and CLRA claims
  27   regarding representations on Defendant’s website for lack of standing because
  28   plaintiff did not allege that she looked or relied on the website representations prior
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   1   to purchasing products); Ogden v. Bumble Bee Foods, LLC, 2014 WL 27527, at
   2   *10–11 (N.D. Cal. Jan. 2, 2014) (plaintiff does not have standing to pursue UCL
   3   and CLRA claims based on defendant’s website statements that plaintiff neither
   4   visited nor relied upon prior to purchasing defendant’s products); Lanovaz v.
   5   Twinings N. Am., Inc., 2013 WL 675929, at *4 (N.D. Cal. Feb. 25, 2013) (“the
   6   court struck claims depending upon information on the website as plaintiff has not
   7   adequately alleged that she bought any particular product based upon specific
   8   representations or statements on the website”).
   9         Plaintiff’s failure to allege reliance on the Website Statements means that she
  10   cannot satisfy the “causal connection” requirement of Article III, nor the causation
  11   requirement for statutory standing under the UCL and CLRA. Dismissal of those
  12   claims under both Rule 12(b)(1) and 12(b)(6) is therefore proper.
  13   B.    Bulletproof’s Labels Are Not Misleading to a Reasonable Consumer
  14         Plaintiff’s (fraudulent and unfair) UCL and CLRA claims also fail on the
  15   merits because none of the challenged Label Statements are misleading to a
  16   reasonable consumer. See FAC ¶¶ 13–20. The claims challenged are, instead,
  17   factually accurate descriptions about the Products. Moreover, the FAC does not
  18   allege any facts to indicate how and why reasonable consumers were misled by
  19   these claims into drawing any incorrect inference about the Products.
  20         1.     The reasonable consumer standard governs Plaintiff’s claims
  21         To state a claim for relief under the fraudulent or unfair prongs of the UCL
  22   and the CLRA, a plaintiff must plausibly allege the conduct at issue is likely to
  23   deceive a “reasonable consumer.” Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir.
  24   2016). “Meeting the reasonable consumer standard] requires more than a mere
  25   possibility that [the] label might conceivably be misunderstood by some few
  26   consumers viewing it in an unreasonable manner. Rather, the reasonable consumer
  27   standard requires a probability that a significant portion of the general consuming
  28   public or of targeted consumers, acting reasonably in the circumstances, could be
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   1   misled.” Id.
   2         Where a complaint fails to plausibly allege that a “reasonable consumer”
   3   would be misled by the labeling at issue, courts may—and frequently do—dismiss
   4   the complaint at the pleading stage. See, e.g., Painter v. Blue Diamond Growers,
   5   757 F. App’x 517, 519 (9th Cir. 2018) (“[Plaintiff’s] complaint does not plausibly
   6   allege that a reasonable consumer would be deceived into believing that
   7   [defendant’s] almond milk products are nutritionally equivalent to dairy milk based
   8   on their package labels and advertising”); Chuang v. Dr. Pepper Snapple Grp., Inc.,
   9   2017 WL 4286577, at *4 (C.D. Cal. Sept. 20, 2017) (dismissing complaint where
  10   plaintiff failed “to point to any false statements” carried on defendants’ fruit snack
  11   packaging).
  12         Dismissal under this standard is appropriate where the complaint offers a
  13   strained and implausible interpretation of the challenged labeling claim or
  14   statement, see Becerra v. Dr Pepper / Seven Up, Inc., 2018 WL 3995832, at *4–7
  15   (N.D. Cal. Aug. 21, 2018), app. docketed, No. 18-16721 (9th Cir. Sept. 12, 2018)
  16   (dismissing complaint with prejudice under the “reasonable consumer” standard
  17   where the complaint failed to “allege facts that plausibly support that the reasonable
  18   consumer would be deceived by the ‘diet’ label”); Manchouck v. Mondelez, Int’l,
  19   2013 WL 5400285, at *3 (N.D. Cal. Sept. 26, 2013), aff’d, 603 F. App’x 632 (9th
  20   Cir. 2015) (dismissing with prejudice because no reasonable consumer would
  21   understand “made with real fruit” to exclude fruit puree), or where the plaintiff
  22   challenges a factually true statement, Hadley v. Kellogg Sales Co., 243 F. Supp. 3d
  23   1074, 1093 (N.D. Cal. 2017) (dismissing complaint with prejudice where
  24   challenged claim “MADE WITH Real Fruit” is a factually true statement).
  25         2.       Plaintiff fails to plead facts plausibly showing the challenged
                      statements are false or misleading to a reasonable consumer
  26
             The FAC challenges two Label Statements as allegedly false or misleading:
  27
       (1) that “not all coffee is created equal” and that Bulletproof’s coffee beans are
  28
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   1   “farmed, screened, and tested to be free of 27 common toxins,” and (2) that the
   2   Products contain “BRAIN OCTANE OIL,” the consumption of which will result in
   3   “fewer cravings,” “power your brain,” and “curb[] snack attacks.” FAC ¶¶ 29, 32.
   4   The FAC does not plausibly allege, however, that any of these statements are
   5   misleading to a reasonable consumer.
   6         First, the FAC alleges that the statements “not all coffee is created equal”
   7   and “free of 27 common toxins” communicates an implied message that
   8   “consuming competing coffee results in health risks.” FAC ¶ 31. But the FAC does
   9   not plead facts to indicate that even Plaintiff—let alone a “reasonable consumer”—
  10   would interpret a factual statement that the Products are screened to remove toxins
  11   as communicating that “regular coffee” is unhealthy. Becerra, 2018 WL 3995832,
  12   at *4–7 (dismissing complaint on “reasonable consumer” grounds where complaint
  13   was based on unwarranted inferences about interpretation of disputed labeling
  14   terms). Likewise, there is no allegation that this statement is false, thus bringing it
  15   within the ambit of true statements that fail to satisfy the “reasonable consumer”
  16   standard. Hadley, 243 F. Supp. 3d at 1093. Indeed, the FAC affirmatively
  17   acknowledges that toxins are, in fact, present in coffee beans. FAC ¶ 30.
  18         Second, the labels truthfully state that the Products contain “BRAIN
  19   OCTANE OIL,” an ingredient derived from highly refined coconut oil. See FAC
  20   ¶ 14, 16, 18. The labels go on to state that consuming this ingredient helps result in
  21   “fewer cravings,” “curb[] snack attacks,” and “power your brain.” Id. The FAC
  22   alleges that this language is misleading because the Products contain saturated fat.
  23   FAC ¶ 32, 34. But no reasonable consumer would interpret the phrase “BRAIN
  24   OCTANE OIL” to mean “absence of saturated fat.” Indeed, this speculative
  25   assertion is particularly strained because the very claim challenged identifies the
  26   food as containing oil, which itself consists principally of fat, as among its
  27   principal ingredients. Moreover, the statement “BRAIN OCTANE OIL” appears
  28   consistently beside a prominent labeling statement that the Products also contain
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   1   “GRASS-FED BUTTER.”
   2         So, it is utterly implausible to allege that consumers interpret an express
   3   reference to a fat-rich ingredient like oil, alongside another express reference to
   4   “GRASS-FED BUTTER,” as communicating a message that the Products are low
   5   in fat. Figy v. Frito-Lay N. Am., Inc., 67 F. Supp. 3d 1075, 1091 (N.D. Cal. 2014)
   6   (finding that it was “utterly implausible that [plaintiff] or reasonable consumers
   7   would see an undisputedly true statement about [sugar or protein] and then draw
   8   conclusions about other totally unrelated nutritional characteristics…or conclude
   9   the Products ‘made only positive contributions to a diet…’”).
  10         The “reasonable consumer” standard assumes, properly, that food purchasers
  11   exercise common sense when evaluating statements on food labels. Brown v.
  12   Starbucks Corp., 2019 WL 996399, at *3 (S.D. Cal. Mar. 1, 2019) (applying
  13   “common sense” standard to interpretation of food label); Weiss v. Trader Joe’s
  14   Co., 2018 WL 6340758, at *5 (C.D. Cal. Nov. 20, 2018) (dismissing challenge to
  15   labeling of characteristics of bottled water as contrary to “common sense”), app.
  16   docketed, No. 19-55841 (9th Cir. July 24, 2019). Here, common sense dictates that
  17   when a “reasonable consumer” sees a product prominently labeled as containing
  18   butter and oil as among its chief ingredients, they do not assume that the food is
  19   low in fat. Plaintiff’s FAC should be dismissed accordingly.
  20   C.    Plaintiff’s Allegations Regarding Specific Claims Are Barred by The
             Prior Substantiation Doctrine
  21
             While Plaintiff attempts to dress the FAC as a challenge to Bulletproof’s
  22
       labeling as misleading or unauthorized, embedded in the FAC is a claim that
  23
       Bulletproof’s marketing is unsubstantiated. Lack of substantiation is not a
  24
       cognizable theory under California’s UCL and CLRA, however, and Plaintiff’s
  25
       FAC should be dismissed as a matter of law to the extent it is based on any alleged
  26
       failure by Bulletproof to provide substantiation for its marketing that is, in
  27
       Plaintiff’s view, adequate.
  28
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   1         It is “firmly established law in California” that neither the UCL nor the
   2   CLRA vest a plaintiff with a private right of action to require manufacturers to
   3   substantiate their advertising claims. Kwan v. SanMedica Int’l, 854 F.3d 1088, 1096
   4   (9th Cir. 2017); see also Engel v. Novex Biotech, LLC, 689 F. App’x 510 (9th Cir.
   5   2017) (“Neither California’s [UCL] nor its [CLRA] provides consumers with a
   6   private cause of action to enforce the substantiation provisions of California’s
   7   unfair competition or consumer protection laws”); Dachauer v. NBTY, Inc., 913
   8   F.3d 844, 847 (9th Cir. 2019) (“Although the FDCA requires manufacturers to have
   9   substantiation for their structure/function claims, California law does not allow
  10   private plaintiffs to demand substantiation for advertising claims…Instead, a
  11   private plaintiff bears the burden of producing evidence to prove that the challenged
  12   statement is false or misleading”).
  13         Instead, pursuant to Cal. Bus. & Prof. Code § 17508, only prosecuting
  14   authorities may require substantiation. Kwan, 854 F.3d at 1094. “The purpose of
  15   allowing only prosecuting authorities, and not private persons, to seek
  16   substantiation of advertising claims under Cal. Bus. & Prof. Code § 17508 is to
  17   ‘prevent undue harassment of advertisers’ and provide ‘the least burdensome
  18   method of obtaining substantiation for advertising claims.’” Stanley v. Bayer
  19   Healthcare LLC, 2012 WL 1132920, at *3 (S.D. Cal. Apr. 3, 2012) (citations
  20   omitted).
  21         Applying these standards, courts routinely dismiss consumer class actions as
  22   a matter of law at the pleading stage where the plaintiff raises an improper
  23   challenge to the defendant’s alleged failure to substantiate its advertising claims,
  24   and the Ninth Circuit upholds these dismissals. See, e.g., Kwan, 854 F.3d at 1097
  25   (affirming dismissal of complaint where plaintiff raised substantiation challenge
  26   and failed to allege “specific facts pointing to actual falsehood”); Engel, 689 F.
  27   App’x at 510–511 (same); Tubbs v. AdvoCare Int’l, LP, 2017 WL 4022397, at *6
  28   (C.D. Cal. Sept. 12, 2017) (dismissing complaint where plaintiff’s allegations
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   1   intimated lack of substantiation and not outright falsity) (“In sum, each of these
   2   articles suggests    that some of Defendant’s          representations    might    lack
   3   substantiation, but they contain no allegations regarding Defendant’s conduct or its
   4   products, and certainly no indication that the representations upon which Plaintiffs
   5   reputedly relied were false”); Fraker v. Bayer Corp., 2009 WL 5865687, at *8
   6   (E.D. Cal. Oct. 6, 2009) (dismissing complaint because “there is no private remedy
   7   for unsubstantiated advertising” and because plaintiff alleged only that defendant
   8   had “no reasonable basis, consisting of competent and reliable scientific evidence to
   9   substantiate” its health-benefit claim related to “WeightSmart” multivitamin).
  10         Plaintiff’s FAC here falls squarely within this body of law. The FAC alleges,
  11   in particular, that the labeling claims “fewer cravings,” “fuel to sustain your body
  12   and mind,” and “Brain octane oil powers your brain and curbs against snack
  13   attacks,” misled reasonable consumers into believing they were purchasing a
  14   product “beneficial for their health and that will assist in weight loss…” FAC ¶¶
  15   76-78. However, nowhere does the FAC allege these statements are false and that
  16   Bulleproof’s Products do not, in fact, result in “fewer cravings,” etc. See generally
  17   FAC; Kwan, 854 F.3d at 1097 (plaintiff must allege “specific facts pointing to
  18   actual falsehood”). Instead, the FAC makes reference to a handful of scientific
  19   studies addressing cholesterol and cardiovascular disease, and assumes without
  20   support that the “fewer cravings” and other claims carried on the products lack
  21   scientific substantiation. FAC ¶¶ 78–82.
  22         Because Plaintiff’s UCL and CLRA claims are premised on an explicit and
  23   inferred lack of substantiation of Bulletproof’s claims, the FAC must be dismissed
  24   as a matter of law. Kwan, 854 F.3d at 1094. Indeed, regardless of how she attempts
  25   to frame her FAC, it is not Plaintiff’s role, as a private citizen, to circumvent
  26   Section § 17508’s reservation of substantiation claims to governmental authorities
  27   and require that Bulletproof provide her with backup for its advertising claims. Id.
  28
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   1   D.    Plaintiff Fails to Allege that the Products Are Misbranded Under the
             FDCA
   2
             The FAC further alleges that certain challenged statements purport to violate
   3
       federal laws regulating both foods and drugs, rendering these statements “unlawful”
   4
       under the UCL. See, e.g., FAC ¶¶ 33, 62, 71, 98–103. The regulations the FAC
   5
       relies on, however, are either inapplicable to the Bulletproof’s Cold Brew Coffee
   6
       products (“drug” regulations) or do not bar the statements carried on the products
   7
       (food regulations). Thus, these allegations fail to state a claim for relief on the
   8
       merits. See MacDonald v. Ford Motor Co., 37 F. Supp. 3d 1087, 1097 (N.D. Cal.
   9
       2014) (“[T]o state a claim under the unlawful prong of the UCL, a plaintiff must
  10
       sufficiently plead a predicate violation.”).
  11
             1.     The challenged labeling does not render the products an
  12                “Unapproved New Drug”
  13         The FAC’s contention that Bulletproof Coffee—a cold brew coffee blended
  14   with oil and grass-fed butter—is a “drug” subject to the FDA’s comprehensive drug
  15   labeling regulations, FAC ¶¶ 38–49, is unsupported and belied by the plain
  16   language of the same statutes, regulations, and FDA warning letters, upon which
  17   the FAC relies.
  18         As a threshold matter, Plaintiff’s “unapproved new drug” claim is brought
  19   pursuant to the UCL, and accordingly, Plaintiff must allege reliance on the
  20   statements she claims convert Bulletproof’s coffee into a “drug.” See supra Section
  21   IV(A). Because Plaintiff fails to allege reliance on any statements carried on
  22   Bulletproof’s website, see id., these Website Statements cannot form the basis of
  23   her “unapproved new drug” claim. Id.
  24         But even assuming the Website Statements were relevant to whether
  25   Bulletproof’s Cold Brew Coffees are “drugs,” none of these statements or those
  26   carried on the products’ labels contain the type of disease-related claims that the
  27   FDA’s definition of “drug” requires. The definition of what constitutes a “drug” for
  28   purposes of FDA regulation is set forth in 21 U.S.C. § 321(g)(1). Relevant here, the
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   1   term “drug” means “articles intended for use in the diagnosis, cure, mitigation,
   2   treatment, or prevention of disease…” (§ 321(g)(1)(B)), or “articles (other than
   3   food) intended to affect the structure or any function of the body…” (§
   4   321(g)(1)(C)). Id. A “stimulant” is a sub-category of “drugs” that “restore mental
   5   alertness or wakefulness during fatigue or drowsiness.” FAC ¶ 32; 21 C.F.R. §
   6   340.3.
   7            Neither the statements carried on Bulletproof’s Products, nor those presented
   8   on its website (assuming the Website Statements are relevant), bring the Products
   9   into the purview of this definition. First and foremost, Bulletproof’s labeling and
  10   website advertising does not in any way indicate that the Products are “intended for
  11   use in the diagnosis, cure, mitigation, treatment, or prevention of disease…” 21
  12   U.S.C. § 321(g)(1)(B). Indeed, none of the statements Plaintiff alleges support her
  13   “unapproved new drug” claim in Paragraph 38 of the FAC reference any disease (or
  14   its diagnosis, cure, mitigation, treatment, or prevention) whatsoever. See generally
  15   FAC. Accordingly, Bulletproof’s Products are not “drugs” subject to the FDA’s
  16   drug regulatory scheme. Compare Nat’l Nutritional Foods Ass’n v. Mathews, 557
  17   F.2d 325, 335 (2d Cir. 1977) (high-dose vitamins A and D were not “drugs”
  18   because product labels did not represent vitamins were effective in the cure or
  19   treatment of disease), with Whitaker v. Thompson, 353 F.3d 947, 949–50 (D.C. Cir.
  20   2004) (saw palmetto extract product label that stated it could improve symptoms
  21   associated with benign prostatic hyperplasia constituted “drug claim” under 21
  22   U.S.C. § 321(g)(1)); U.S. v. Writers & Research, Inc., 113 F.3d 8, 10–11 (2d Cir.
  23   1997) (product label that claimed to be a “non-toxic treatment” for cancer, AIDS,
  24   and other chronic diseases constituted a “drug claim” under 21 U.S.C. § 321(g)(1)).
  25            The sole support Plaintiff proffers for this “unapproved drug” allegation is a
  26   series of FDA warning letters. See FAC ¶ 39, Ex. 1. These warning letters offer
  27   Plaintiff no support, however, because each addressed either non-food items subject
  28   to the second prong of FDA’s definition of “drug” (“articles (other than food)
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   1   intended to affect the structure or any function of the body of man or other
   2   animals.”), or circumstances in which the challenged labeling made specific
   3   reference to a given disease. Id. (emphasis added).
   4         For example, while the FDA determined that bulk caffeine powder
   5   constituted a “drug” under 21 U.S.C. § 321(g)(1)(C) because the caffeine powder
   6   was intended to affect the structure or function of the body, FAC Ex. 1 (ALV
   7   Supplement Direct Warning Letter), this sub-section simply does not apply to
   8   Bulletproof’s Products as the Products are “food.” See 21 U.S.C. § 321(g)(1)(C)
   9   (sub-section applies only to “articles (other than food)”); 21 U.S.C. § 321(f) (“The
  10   term ‘food’ means…articles used for food or drink for man…”). Likewise, while
  11   the FDA determined that a “BrainAlert” product containing various substances such
  12   as dimethylaminoethanol (DMAE), gotu kola, huperzine A, and Vitamin B3
  13   constituted a “drug” pursuant to § 321(g)(1)(B), it did so because the product
  14   labeling made reference to a number of “diseases,” including depression, ADD, and
  15   anxiety. FAC Ex. 1 (BrainAlert, LLC Warning Letter); see also FAC Ex. 1
  16   (GnuPharma Corp. Warning Letter) (GnuPharma capsules were “drugs” where
  17   marketing indicated products could aid with pain, inflammation, allergies, anxiety,
  18   drug and other addictions, etc.). Bulletproof makes no similar “disease” claims.
  19         Thus, nothing on Bulletproof’s Product labeling gives rise to a plausible
  20   claim that the Products are “drugs.” And because the Products are not “drugs,” they
  21   likewise do not qualify as “stimulants.” See 21 C.F.R. § 340.3 (“stimulant” is a sub-
  22   category of “drug”). FAC ¶¶ 32–35. Plaintiff’s claims based on these theories
  23   should be dismissed accordingly.
  24         2.     Bulletproof does not make any unauthorized nutrient content
                    claims
  25
             The Products contain 0g of sugar per serving and bear a label statement
  26
       accurately reflecting this fact. The Bulletproof Cold Brew Coffee + Collagen
  27
       Protein product also bears a statement that it contains 15g of protein derived from
  28
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   1   collagen. Plaintiff alleges that the “0g Sugar” and “15g Collagen” statements are
   2   nutrient content claims subject to 21 C.F.R. § 101.13, thus requiring the Products to
   3   separately disclose that the Products contain levels of fat and/or saturated fat above
   4   the levels specified in 21 C.F.R. § 101.13(h)(1). FAC ¶¶ 51–52, 62–64. The use of
   5   the “0g Sugar” and “15g Collagen” label statements, however, do not constitute
   6   nutrient content claims.
   7         The “0g Sugar” and “15g Collagen” statements do not “characterize” the
   8   level of sugar or collagen in the food. So, they are not properly classified as nutrient
   9   content claims and, thus, do not require the disclaimers regarding fat content
  10   referred to in § 101.13(h)(1). The FDCA specifically defines nutrient content claims
  11   as a “claim [] made in the label or labeling of the food which expressly or by
  12   implication (A) characterizes the level of any nutrient.” 21 U.S.C. § 343(r)(1)(A)
  13   (emphasis added). FDA regulations implementing the FDCA are in accord, defining
  14   nutrient content claims as those that “expressly or implicitly characterize[] the
  15   level of a nutrient” in food. 21 C.F.R. § 101.13(b) (emphasis added).
  16         Here, the “0g Sugar” and “15g Collagen” statements do not “characterize the
  17   level” of sugar or collagen in the products; rather, they are simply accurate factual
  18   statements of the amount of sugar and collagen per serving in the respective
  19   Products. Indeed, FDA regulations identify similar statements like “100 calories”
  20   and “5 grams of fat” as examples of those that do not “characterize the level of the
  21   nutrient in the food.” See 21 C.F.R. § 101.13(i)(3). Subsection 101.13(i)(3) also
  22   specifies that for such statements that do not characterize the level of a nutrient, “no
  23   disclaimer is required.” Id. So, the “0g Sugar” and “15g Collagen” statements are
  24   not subject to the “disclaimer” requirements of 21 C.F.R. § 101.13(h)(1), because
  25   they are not nutrient content claims. 21 C.F.R. § 101.13(i)(3).
  26         Related FDA authority enforces this distinction between claims that
  27   “characterize” the level of nutrient in a food and those that simply state the
  28   “amount” of a nutrient, citing the kinds of claims identified in § 101.13(i)(3) as
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   1   examples. See Food Labeling: Nutrient Content Claims, General Principles,
   2   Petitions, Definition of Terms; Definitions of Nutrient Content Claims for the Fat,
   3   Fatty Acid, and Cholesterol Content of Food, 58 Fed. Reg. 2302–01, 2310
   4   (proposed Jan. 6, 1993) (“[B]ased on the comments and its review of the 1990
   5   amendments, FDA finds that there are some circumstances in which an amount
   6   claim cannot be considered to characterize in any way the level of a nutrient in a
   7   food. For example, the statement ‘100 calories’ or ‘5 grams of fat’ on the principal
   8   display panel of a food would be a simple statement of amount that, by itself,
   9   conveys no implied characterization of the level of the nutrient. As long as such a
  10   statement is not false or misleading, it can appropriately be included in food
  11   labeling. Therefore, FDA is providing in new § 101.13(i)(3) that an absolute
  12   statement of amount may be made without a disclaimer”) (emphases added); see
  13   also Food Labeling; Requirements for Nutrient Content Claims for Dietary
  14   Supplements of Vitamins, Minerals, Herbs, and Other Similar Nutritional
  15   Substances, 58 Fed. Reg. 33731-01, 33740 (proposed June 18, 1993) (explaining
  16   that “101.13(i)(3) provides for amount or percentage statements that do not
  17   characterize the level of a nutrient (including those nutrients without an RDI or
  18   DRV) and that are therefore not nutrient content claims but rather state amounts
  19   present.”) (emphasis added).
  20         Thus, FDA interpretive guidance corroborates the language of the statute in
  21   that factual statements regarding amounts do not “characterize the level” of a
  22   nutrient, and so are not regulated as nutrient content claims.
  23         3.     Bulletproof does not make any unauthorized health claims
  24         Plaintiff’s contention that the Products bear “unauthorized health claims,”
  25   FAC ¶¶ 65-70, is also unsupported.
  26         First, a health claim is “any claim made on the label or in labeling of a food
  27   …that expressly or by implication…characterizes the relationship of any substance
  28   to a disease or health-related condition.” 21 C.F.R. § 101.14(a)(1). Here, the sole
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   1   statement that Plaintiff alleges constitutes a health claim (“GRASS-FED BUTTER
   2   from grass-fed cows is higher in butyrate, a fatty acid that aids in digestion as well
   3   as Vitamin K2, which helps push the calcium to your bones—not your arteries”
   4   FAC ¶ 66) does not appear on the Product label and is therefore not subject to
   5   FDA’s regulations governing food “labels.” As the FAC alleges, this statement
   6   appears only on Bulletproof’s website.3 Id. The FDCA is clear that the term “label”
   7   does not include websites. 21 U.S.C. 321(k) (“The term ‘label’ means a display of
   8   written, printed, or graphic matter upon the immediate container of any article…”).
   9   Further, the definition of “labeling” means materials that “accompany” the food
  10   label, and does not include websites. See 21 U.S.C. 321(m) (“The term ‘labeling’
  11   means all labels and other written, printed, or graphic matter (1) upon any article or
  12   any of its containers or wrappers, or (2) accompanying such article.”); see also
  13   Wilson v. Frito-Lay N. Am., Inc., 961 F. Supp. 2d 1134, 1143 (N.D. Cal. 2013)
  14   (statements made on the www.fritolay.com website do not “accompany” the
  15   products such that they can be classified as “labeling” under the FDCA).
  16         Second, to constitute a health claim, a statement must reference both: (1) a
  17   substance and (2) a specific disease or health-related condition. See FDA, Guidance
  18   for   Industry:     A    Food      Labeling     Guide,     at   81     (Jan.    2013),
  19   https://www.fda.gov/media/81606/download. Plaintiff alleges that the challenged
  20   statement constitutes a health claim relating to heart health (FAC ¶¶ 66–70),
  21   however, a plain reading of the statement reveals that Bulletproof makes no
  22   reference to “heart health” whatsoever. Indeed, the Bulletproof statement does not
  23   reference any specific disease or health-related condition at all. Further, the type of
  24   “health-related conditions” the regulation covers are specific ones like lung cancer,
  25   heart disease, or high blood pressure. See id. at H4-H6 (listing examples of diseases
  26   and health-related conditions). Here, a statement asserting that Vitamin K2 “helps
  27   3
        Plaintiff also lacks both Article III and statutory standing to challenge statements
       originating from Bulletproof’s website which do not appear on the Product label.
  28   See, supra, Section IV(A).
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   1   push [] calcium to [your] bones” is too vague and general to relate to a “health-
   2   related condition.” See also Lanovaz v. Twinings N. Am., Inc., 2014 WL 46822, at
   3   *8 (N.D. Cal. Jan. 6, 2014) (generalized statements such as “protective
   4   antioxidants” are too general to relate to a “health-related condition” and do not
   5   violate FDA health claim regulations).
   6   E.     The FAC Fails to Allege Facts Sufficient to Satisfy Rule 9(b)
   7          Rule 9(b) imposes a heightened pleading standard requiring that “a party
   8   must state with particularity the circumstances constituting fraud or mistake.” Id.
   9   This heightened standard applies to UCL and CLRA claims premised on alleged
  10   fraudulent conduct. Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009)
  11   (“Rule 9(b)’s particularity requirement applies to these state-law causes of action
  12   [including UCL and CLRA claims]”). So, it is well-established that Rule 9(b)
  13   applies to complaints asserting violations of the UCL and CLRA, where the
  14   challenged conduct involves alleged misrepresentations or omissions on the
  15   labeling of food or beverage products. See Arabian v. Organic Candy Factory,
  16   2018 WL 1406608, at *3 (C.D. Cal. Mar. 19, 2018) (Wright, J.) (holding that
  17   claims alleging misleading food labeling “are grounded in fraud” and dismissing for
  18   failure to plead facts to satisfy Rule 9(b)). To satisfy Rule 9(b), a plaintiff must
  19   allege facts sufficient to identify “‘the who, what, when, where, and how of the
  20   misconduct charged,’ as well as ‘what is false or misleading about the purportedly
  21   fraudulent statement, and why it is false.’” Cafasso, United States ex rel. v. Gen.
  22   Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (emphasis added).
  23          In this case, Rule 9(b) thus requires—at a minimum—that the FAC plead
  24   specific facts as to: (1) Plaintiff’s reliance (i.e., the “what”); and (2) her basis for
  25   believing that the alleged misleading labeling is false (i.e., the “how” and “why”).
  26   See In re 5-hour Energy Mktg. and Sales Practices Litig., 2014 WL 5311272, at
  27   *16 (C.D. Cal. Sept. 4, 2014) (“Plaintiffs here have similarly failed to indicate what
  28   particular statements (in advertisements or otherwise) they relied on when
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   1   purchasing [defendant’s product]. As a result, their claims do not pass muster under
   2   Rule 9(b).”) (collecting cases); Arabian, 2018 WL 1406608, at *4 (“Plaintiff does
   3   not adequately set forth why the statements on the packaging of the Class Products
   4   are false.”). The FAC fails both these standards.
   5         First, as described in detail in Section IV(A), above, the FAC contains no
   6   allegations of reliance on the Website Statements. So, the FAC does not contain the
   7   kind of factual specificity regarding reliance that Rule 9(b) mandates. In re 5-hour
   8   Energy, 2014 WL 5311272, at *16; Jones v. Nutiva, Inc., 2017 WL 3617104, at *3
   9   (N.D. Cal. Aug. 23, 2017) (“[A]lthough the complaint includes different labels for
  10   Defendant’s [products], it does not state that Plaintiff [] relied on any of them. Such
  11   incomplete allegations do not satisfy Rule 9(b)”).
  12         Second, the FAC fails to allege “why” Plaintiff believes the Products’
  13   labeling is false and, if so, “how” she came to that conclusion. Arabian, 2018 WL
  14   1406608, at *4. The FAC contains nothing more than a boilerplate allegation that
  15   “Plaintiff would not have purchased Bulletproof Cold Brew products had she
  16   known that they were unlawfully labeled, misbranded, contained false claims, and
  17   an unapproved new drug.” FAC ¶ 83. But this allegation is just a recitation of the
  18   purported legal basis for the UCL and CLRA claims: It does not explain why
  19   Plaintiff considers the Products’ labeling to be false, or how she came to that
  20   conclusion. The FAC is particularly lacking in this regard, because the statements
  21   that Plaintiff otherwise challenges are, in fact, true. See supra Section II(A).4 The
  22   FAC should be dismissed accordingly for failure to satisfy Rule 9(b).
  23                                  V.     CONCLUSION
  24         For the foregoing reasons, Bulletproof 360, Inc. respectfully requests that the
  25   Court dismiss Plaintiff’s First Amended Complaint with prejudice.
  26   4
         The FAC also fails to satisfy Rule 9(b) because it does not identify, among the
       seven varieties of Products, which specific one(s) Plaintiff purchased. FAC ¶¶ 83-
  27   87. Stanwood v. Mary Kay, Inc., 941 F. Supp. 2d 1212, 1220 (C.D. Cal. 2012)
       (dismissing fraud-based claims for failure to satisfy Rule 9(b) where plaintiff did
  28   not allege which specific products she purchased).
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   1                            CERTIFICATE OF SERVICE
   2         The undersigned certifies that on August 19, 2019, I caused to be filed via the
   3   CM/ECF system a true and correct copy of the foregoing document and that service
   4   of this document was accomplished on all parties in the case by the CM/ECF
   5   system.
   6                                         /s/ Mica Klein
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                                                                 Case No. 2:19-cv-04409-ODW-SK
                                               -1-                   CERTIFICATE OF SERVICE
